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                                                                             RICHARD W. NAGEL
                                                                              CLERK OF COURT

                                                                            2022 JAN 19 PM 3:55
                               UNITED STA TES DISTRICT COURT               U.S. DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO                 SOU THERN DIST. OHIO
                                     WESTERN DIVISION                     WEST. DIV. CINCIINNIATI


 UNITED STATES OF AMERICA,
                     Plaintiff,
                                                         CASE NO.        t192CR 010
                                                         JUDGE
                                                                     JUDGE BLACK
                           v.
                                                         INDICTMENT
 DELOYE KOFI AMUZU,
 a/k/a DE-LOVE KOFI AMUZU,                               18 u.s.c. § 1341
                                                         18 u.s.c. § 1343
                     Defendant.                          18 u.s.c. § 1349
                                                         18 U.S.C. § 1956(a)(2)
                                                         18 U.S.C. § 1956(h)

                                                         Forfeiture Allegations



THE GRAND JURY CHARGES:

        1. At times relevant to this Indictment, the defendant, DELO VE KOFI AMUZU a/k/a

DE-LOVE KOFI AMUZU, a citizen of Ghana, was a resident of the Southern District of Ohio.

                                            COUNT l
                                (Conspiracy to Commit Mail Fraud
                                   and to Commit Wire Fraud)

                                        The Conspiracy

        2. Paragraph 1 of the Indictment is incorporated here.

        3. From in or about August 2018 through on or about January 13 , 2022, in the Southern

District of Ohio and elsewhere, the defendant, DELOYE KOFI AMUZU a/k/a DE-LOVE

KOFI AMUZU, knowingly and intentionally conspired and agreed with others to commit the

following offenses, that is:

       a. to devise and intend to devise a scheme and artifice to defraud and to obtain money

          and prope1ty by means of materially false and fraudulent pretenses, representations,
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              and promises, and for the purpose of executing the scheme and artifice, to knowingly

              cause items to be delivered by U.S. Mail and by private and commercial interstate

              carrier, in violation of Title 18, United States Code, Section 1341 ; and

       b. to devise and intend to devise a scheme to defraud, and to obtain money and property

              by means of materially false and fraudulent pretenses, representations, and promises,

              and for the purpose of executing the scheme and artifice, to knowingly cause to be

              transmitted by means of wire communication in interstate commerce writings, signs,

              signals, pictures, and sounds, in violation of Title 18, United States Code, Section

              1343.

                              Purpose and Object of the Conspiracy

        4. The purpose and object of the conspiracy was for the coconspirators, including

DELO VE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU, to unlawfully enrich themselves

by obtaining money and valuables by false and fraudulent pretenses.

                              Manner and Means of the Conspiracy

        5. The manner and means by which the coconspirators, including DELOYE KOFI

AMUZU a/k/a DE-LOVE KOFI AMUZU, sought to accomplish the objectives of the

conspiracy included the following:

        6. As part of and in furtherance of the conspiracy, members of the conspiracy created

profiles on dating websites using false information and pictures of other individuals (the "False

Profiles").

        7. As part of and in furtherance of the conspiracy:

       a. Members of the conspiracy used False Profiles to initiate contact with victims via the

 internet, pretending to be the person pictured in the False Profile.



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        b. Once members of the conspiracy initiated contact with a victim, they communicated

 with the victim by online instant messaging services, email, and telephone, among other ways.

 By expressing romantic interest in the victim, members of the conspiracy misled the victim

 into believing he or she was in a relationship with the person pictured in the False Profile.

        c. Members of the conspiracy commonly represented to the victim that the person

 pictured in the False Profile was living abroad, or that there was some other justification for

 why the person pictured in the False Profile was never able to meet the victim in person.

       d. Once the victim believed he or she was in a romantic relationship with the person

 pictured in the False Profile, members of the conspiracy made false representations to induce

 the victim to transfer money, or to mail money or valuables, to members of the conspiracy or

 to third parties, including to DELOVE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU in

 the Southern District of Ohio and to other victims. For example, the coconspirators commonly

 falsely represented that the person pictured in the False Profile was expecting a large

 inheritance of gold bars and needed financial assistance to bring them to the United States.

 Other false representations the coconspirators made included that the person in the False

 Profile needed money for a plane ticket to visit the victim, money for bail after being falsely

 imprisoned, or money to pay medical bills. In fact, the money and valuables the victims sent

to the coconspirators were used by individuals other than those pictured in the False Profiles

 and for purposes other than those represented to the victims.

       e. Members of the conspiracy commonly directed victims to deposit checks, via counter

deposit, into financial accounts controlled by members of the conspiracy.

       f. Members of the conspiracy received proceeds of the scheme m multiple bank

accounts, including bank accounts opened in the name of a shell company, Obdomdel



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Management Agency LLC, an Ohio LLC for which DELOYE KOFI AMUZU a/k/a DE-

LOVE KOFI AMUZU was the registered agent.

        g. Members of the conspiracy made misrepresentations to financial institutions about

the purpose of the large deposits into the accounts controlled by the coconspirators.

        h. Members of the conspiracy laundered the proceeds of the scheme by making large

wire transfers, including to countries in Africa, and representing to financial institutions that

the transfers were for, among other things, purchasing a house and supporting family members.

        All in violation of 18 U.S.C. § 1349.

                                         COUNTS2-4
                                         (Mail Fraud)

        8.   Paragraphs l and 4 through 7 of the Indictment are incorporated here.

        9. From in or about August 2018 through on or about January 13, 2022, in the Southern

District of Ohio and elsewhere, the defendant, DELOYE KOFI AMUZU a/k/a DE-LOVE

KOFI AMUZU, and others known and unknown to the grand jury, knowingly, and with the

intent to defraud, devised and willfully participated in the above-described scheme and artifice

to defraud and obtain money by materially false and fraudulent pretenses, representations, and

promises.

        l 0. On or about the fol lowing dates, in the Southern District of Ohio and elsewhere, for

the purpose of executing the above-described scheme and artifice to defraud and deprive, the

defendant, DELOYE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU, knowingly caused

the following matters to be delivered by mail, and by a private and commercial interstate carrier:




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 Count      Date, on or about     Matter mailed            Recipient
 2          9/10/18               USPS Parcel              Delove Kofi Amuzu
                                                           11 Camelot Cir. Apt. J
                                                           Fairfield, OH 45014
 3           11/13/18             FedEx Parcel             Delove Kofi Amuzu
                                                           11 Camelot Cir. Apt. J
                                                           Fairfield, OH 45014
 4          12/10/18              USPS Parcel              [A.J.]
                                                           [Redacted]
                                                           Cincinnati, OH 45202

          All in violation of 18 U.S.C. § 1341; Pinkerton v. United States, 328 U.S. 640

(1946).

                                          COUNTSS-6
                                          (Wire Fraud)

          11. Paragraphs 1 and 4 through 7 of the Indictment are incorporated here.

          12. From in or about August 2018 through on or about January 13, 2022, in the

Southern District of Ohio and elsewhere, the defendant, DELOYE KOFI AMUZU a/k/a DE-

LOVE KOFI AMUZU, and others known and unknown to the grand jury, knowingly, and

with the intent to defraud, devised and willfully participated in the above-described scheme and

artifice to defraud and obtain money by materially false and fraudulent pretenses,

representations, and promises.

          13. On or about the following dates, in the Southern District of Ohio and elsewhere, for

the purpose of executing the above-described scheme and artifice to defraud and deprive, the

defendant, DELOYE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU, knowingly

transmitted by means of wire communication in interstate commerce, and knowingly caused to

be transmitted by means of wire communication in interstate commerce, the following writings,

signs, signals, and pictures:




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 Count      Date, on or about     Wire Communication
 5          12/10/18              Email to Wells Fargo with subject line "Re: ACTIVITY ON
                                  YOUR (NOW CLOSED) WELLS FARGO BUSINESS
                                  ACCOUNT"
 6           12/20/19             Email to [redacted]@yahoo.co.uk reading "Text me for
                                  hangout bro fredactedl~gmail.com"

          All in violation of 18 U.S.C. § 1343; Pinkerton v. United States, 328 U.S. 640

(1946).


                                         COUNT7
                                (Money Laundering Conspiracy)

           14.   Beginning in or about August 2018 and continuing through on or about January

13, 2022, in the Southern District of Ohio and elsewhere, the defendant, DELO VE KOFI

AMUZU a/k/a DE-LOVE KOFI AMUZU, knowingly and willfully conspired and agreed

with others to commit offenses against the United States in violation of Title 18, United States

Code, Section 1956, to wit:

      a. to knowingly conduct and attempt to conduct financial transactions affecting

            interstate commerce and foreign commerce, which transactions involved the

            proceeds of specified unlawful activity, that is, Mail Fraud in violation of 18 U.S.C.

            § 1341 and Wire Fraud in violation of 18 U.S.C. § 1343, knowing that the

            transactions were designed in whole or in part to conceal and disguise the nature,

            location, source, ownership, and control of the proceeds of specified unlawful

            activity, and that while conducting and attempting to conduct such financial

            transactions, knew that the property involved in the financial transactions




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          represented the proceeds of some form of unlawful activity, in violation of Title 18,

          United States Code, Section l 956(a)(I )(B)(i); and

      b. to transport, transmit, and transfer and attempt to transport, transmit, and transfer a

          monetary instrument and funds from a place in the United States to and through a

          place outside the United States with the intent to promote the carrying on of

          specified unlawful activity, that is, Mail Fraud in violation of 18 U.S.C. § 1341 and

          Wire Fraud in violation of 18 U .S.C. § 1343, in violation of Title 18, United States

          Code, Section l 956(a)(2)(A).

                          Manner and Means of the Conspiracy

       15. The manner and means by which the coconspirators, including DELOYE KOFI

AMUZU a/k/a DE-LOVE KOFI AMUZU, sought to accomplish the objectives of the

conspiracy included the following:

      a. Paragraphs 5 through 7 of the Indictment are incorporated here.

      b. It was further part of the conspiracy that members of the conspiracy, including

          DELOYE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU, controlled a bank

         account at JPMorgan Chase Bank, N.A., with an account number ending in 5929 (the

         " Chase x5929 account").

      c. It was further part of the conspiracy that members of the conspiracy, including

         DELOYE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU, controlled a bank

         account at Bank of America in the name of Obdomdel Management Agency LLC,

         with an account number ending in 9130 (the "Bank of America 9130 account").




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    d. It was further part of the conspiracy that on August 27, 2018, members of the

         conspiracy caused a wire transfer for $32,000 to be made from the Chase x5929

         account to a bank account in Ghana, with the memo line "Family Expenses."

    e. It was further part of the conspiracy that on August 28, 2018, members of the

         conspiracy caused a wire transfer for $29,700 to be made -from the Chase x5929

         account to a bank account in Ghana, with the memo line "Family Expenses."

    f.   It was further part of the conspiracy that on November 9, 2018, members of the

         conspiracy caused a wire transfer for $85,000 to be made from the Bank of America

         x9130 account to a bank account in Ghana, with the memo line "PURCHASE OF

         HOUSE."

    g. It was further part of the conspiracy that on November 20, 2018, members of the

         conspiracy caused a wire transfer for $ I 0,000 to be made from the Bank of America

         x9130 account to a bank account in Ghana, with the memo line "POP FAMLIL Y

         SUPPORT."

    h. It was further part of the conspiracy that on November 28, 2018, members of the

         conspiracy caused a wire transfer for $ I 2,000 to be made from the Bank of America

         x9130 account to a bank account in Ghana, with the memo line "POP FAMILY

         SUPPORT."

    1.   It was further part of the conspiracy that on November 29, 2018, members of the

         conspiracy caused a wire transfer for $20,000 to be made from the Bank of America

         x9130 account to a bank account in Ghana, with the memo line "POP FAMILY

         SUPPORT."




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      J·     It was further part of the conspiracy that on December 3, 2018, members of the

            conspiracy caused a wire transfer for $33,000 to be made from the Bank of America

            x9 l 30 account to a bank account in Ghana, with the memo line "POP FAMILY

            SUPPORT."

       k. It was further part of the conspiracy that on December 6, 2018, members of the

            conspiracy caused a wire transfer for $46,000 to be made from the Bank of America

            x9 I 30 account to a bank account in Ghana, with the memo line "POP FAMILY

            SUPPORT."

          All in violation of 18 U.S.C. § 1956(h).

                                        COUNTS 8-10
                                      (Money Laundering)

          16. On or about the dates listed below, in the Southern District of Ohio and elsewhere,

the defendant, DELOVE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU, did transmit and

transfer funds, and cause funds to be transmitted and transferred, that is, the funds listed below,

from a place in the United States to a place outside the United States, knowing that the funds

involved in the transportation represented the proceeds of some form of unlawful activity and

knowing that such transportation was designed in whole or in part to conceal and disguise the

nature, location, source, ownership, and control of the proceeds of specified unlawful activity,

that is, Mail Fraud in violation of 18 U .S.C. § 1341 and Wire Fraud in violation of 18 U .S.C.

§ 1343:




                                                     9
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 Count        Date, on or about    Transfer
 8            8/27/ 18             Wire Transfer for $32,000 from the Chase Bank Account with
                                   account number ending in 5929
 9            8/28/18              Wire Transfer for $29,700 from the Chase Bank Account with
                                   account number ending in 5929
 IO           11 /9/18             Wire Transfer for $85 ,000 from the Bank of America Account
                                   with account number ending in 9130

          In violation of 18 U.S.C. §§ 1956(a)(2)(B); Pinkerton v. United States, 328 U.S. 640

(1946).

                                  FORFEITURE ALLEGATION 1

          Upon conviction of any offense set forth in Counts I through 6 of this Indictment, the

defendant, DELOVE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU, shall forfeit to the

United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any property constituting, or derived from ,

proceeds obtained directly or indirectly, as a result of such violation(s), including but not limited

to a sum of money equal to the amount of proceeds the defendant obtained as a result of the

offense(s).

                                  FORFEITURE ALLEGATION 2

          Upon conviction of any offense set forth in Counts 7 through IO of this Indictment, the

defendant, DELOVE KOFI AMUZU a/k/a DE-LOVE KOFI AMUZU, shall forfeit to the

United States, pursuant to 18 U.S.C. § 982(a)(l), any property, real or personal, involved in

such offense(s), and any property traceable to such property, including but not limited to a sum

of money equal to the amount of money involved in the offense(s).

                                     SUBSTITUTE ASSETS

          If any of the property described above, as a result of any act or omission of the

defendant:

                  a.     cannot be located upon the exercise of due diligence;



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               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided

                       without difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

§ 982(b)(l), to seek forfeiture of any other property of the defendant, up to the value of the

property described above.

                                               A TRUE BILL.

                                                      's (
                                               FOREPERSON

KENNETH L. PARKER
UNITED STATES ATTORNEY

   ~                Q Gt4u'~
JULIE D. GARCIA
Assistant United States Attorney




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